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                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                                       www.flsb.uscourts.gov

In re:                                                      Chapter 11

SHIFTPIXY, INC. et, al.1                                    Case No. 24-21209-LMI

      Debtors.                                              (Jointly Administered)
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                        DEBTORS' LIST OF EQUITY SECURTY HOLDERS

        Debtor, RETHINK HUMAN CAPITAL MANAGEMENT, INC., hereby submits its list of
equity security holders pursuant to Fed. R. Bankr. P. 1007(a)(3). NONE

    Dated November 22, 2024.
                                                    Respectfully submitted:

                                                    DGIM Law, PLLC
                                                    Proposed Counsel for the Debtors
                                                    2875 NE 191st Street, Suite 705
                                                    Aventura, FL 33180
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                                                    /s/ Isaac Marcushamer
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1
 The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management, Inc.
The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.
